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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

   DAVID POLIFRONI,                       )
                                          )
               Plaintiff                  )
                                          )
         v.                               ) Case No.: 2:11-cv-3362-WHW-CCC
                                          )
   COMMERCIAL RECOVERY                    )
   SYSTEMS, INC.,                         )
                                          )
               Defendant                  )
                                          )
                                          )

                  NOTICE OF VOLUNTARY DISMISSAL


   TO THE CLERK:

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

   voluntarily dismisses his Complaint with prejudice.




   Dated: January 7, 2013                BY:/s/Amy L. Bennecoff
                                         Amy L. Bennecoff, Esquire
                                         Attorney ID # AB 0891
                                         Kimmel & Silverman, P.C
                                         1930 E. Marlton Pike, Suite Q29
                                         Cherry Hill, New Jersey 08003
                                         Phone: (856)429-8334
                                         Facsimile: (856) 216-7344
                                         Email: abennecoff@creditlaw.com
                                         Attorney for Plaintiff
